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                                                      EXHIBIT A

                 SUMMARY AND DETAILS OF FEES FOR THIRD MONTHLY PERIOD
                        (AUGUST 1, 2023 THROUGH AUGUST 16, 2023)

                        SUMMARY OF SERVICES RENDERED BY TIMEKEEPER

                                                           FEES          HOURS          HOURLY       NUMBER OF
                         POSITION                         BILLED         BILLED       RATE BILLED      RATE
TIMEKEEPER NAME        (YEAR OF BAR    DEPARTMENT                                                    INCREASES
                        ADMISSION)                       IN THIS FEE    IN THIS FEE    IN THIS FEE    IN THIS FEE
                                                        APPLICATION    APPLICATION    APPLICATION    APPLICATION

                          Partner     Finance and
Evelyn J. Meltzer                                         $23,000         23.00          $1,000         None
                          (2001)      Restructuring

Marcy J. McLaughlin      Associate    Finance and
                                                         $14,616.00        17.4          $840           None
Smith                     (2015)      Restructuring

                                      Finance and
Susan M. Henry           Paralegal                        $1,092.00        2.8           $390           None
                                      Restructuring

                                      Finance and
Monica A. Molitor        Paralegal                       $13,104.00        33.6          $390           None
                                      Restructuring

                                            TOTALS:      $51,812.00        76.8

                           TOTAL BLENDED RATE:            $674.64




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                   SUMMARY OF SERVICES RENDERED BY TASK CODE

 Project                                                                      Total        Total
Category                        Project Category Description                  Hours     Compensation
  Code                                                                        Billed       Billed
                                                                               3.9         $1,627.00
 B110       Case Administration
                                                                               3.5         $3,340.00
 B130       Asset Disposition
 B140       Relief from Stay – Adequate Protection Proceedings                 2.4         $1,707.00
 B150       Meetings of and Communications with Creditors                      0.4           $400.00
 B155       Court Hearings                                                    17.2        $10,543.00
 B160       Fee Applications                                                   4.7         $2,549.00
 B165       Fee Applications – Others                                          9.5         $4,871.00
 B175       Retention Applications - Others                                    0.1            $39.00
 B185       Assumption/Rejection of Leases and Contracts                       3.6         $2,425.00
 B188       Assumption/Rejection of Non-Residential Real Estate Leases         1.5         $1,260.00
 B190       Other Contested Matters                                           24.0        $18,472.00
 B191       General Litigation                                                 1.0           $586.00
 B210       Business Operations                                                0.1           $100.00
 B230       Financing/Cash Collections                                         0.2           $123.00
 B320       Plan and Disclosure Statement                                      4.7         $3,770.00
 B460  Other – Insurance Matters                                               3.6         $2,425.00
TOTAL:                                                                        76.8       $51,812.00




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                                                         Troutman Pepper Hamilton Sanders LLP Time Entry Detail by Task Code for Period: 8/1/23 to 8/16/23



   Date            TKPR Name           Bs Hrs    Tobill Amt  Task                                                                    Narrative
                                                             Code
  8/1/2023 Molitor, Monica A.             0.20       $78.00 B110 Update critical dates calendar
  8/2/2023 Molitor, Monica A.             0.10       $39.00 B110 Email from L. Taylor re Reliable invoice re hearing binder preparation, delivery to Court, review invoice
  8/2/2023 Molitor, Monica A.             0.20       $78.00 B110 Email exchanges with E. Meltzer, M. McLaughlin Smith re 8/2 filing deadline per Del. Bankr. L.R. 9006-1(c)
  8/3/2023 Molitor, Monica A.             0.30      $117.00 B110 Update critical dates calendar
  8/4/2023 Molitor, Monica A.             0.30      $117.00 B110 Update critical dates calendar
  8/7/2023 Molitor, Monica A.             0.20       $78.00 B110 Email exchanges with E. Meltzer, M. McLaughlin Smith, noticing agent re service of pleadings for 8.7
  8/7/2023 Molitor, Monica A.             0.40      $156.00 B110 Update critical dates calendar
  8/8/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B110 Review and respond to M. Molitor email re: critical dates calendar
  8/8/2023 Meltzer, Evelyn J              0.10      $100.00 B110 Speaking with M. Molitor re case calendar
  8/8/2023 Molitor, Monica A.             0.20       $78.00 B110 Email exchanges with E. Meltzer, M. McLaughlin Smith re critical dates calendar
  8/8/2023 Molitor, Monica A.             0.10       $39.00 B110 Confer with E. Meltzer re case status, calendar
  8/8/2023 Molitor, Monica A.             0.10       $39.00 B110 Update critical dates calendar
  8/9/2023 Molitor, Monica A.             0.10       $39.00 B110 Email to E. Meltzer, M. McLaughlin Smith re case calendar through 8.31
  8/9/2023 Molitor, Monica A.             0.20       $78.00 B110 Update critical dates calendar
  8/9/2023 Molitor, Monica A.             0.10       $39.00 B110 Email to E. Meltzer, M. McLaughlin Smith re case calendar through 9/1
 8/11/2023 Molitor, Monica A.             0.20       $78.00 B110 Update critical dates calendar
 8/11/2023 Molitor, Monica A.             0.20       $78.00 B110 Update critical dates calendar
 8/14/2023 Molitor, Monica A.             0.20       $78.00 B110 Update critical dates calendar
 8/15/2023 Molitor, Monica A.             0.20       $78.00 B110 Update critical dates calendar
 8/16/2023 Molitor, Monica A.             0.40      $156.00 B110 Update critical dates calendar pursuant to conversion order deadlines
                                          3.90    $1,627.00 B110 Case Administration

  8/1/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B130    Emails with Company team and E. Meltzer re: potential lease/IP sale
  8/1/2023 McLaughlin Smith, Marcy J      0.60      $504.00 B130    Telephone call with E. Meltzer, and in part T. Kohl (0.2), re: potential IP and lease sale
  8/1/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B130    Review emails with L. Scott and E. Meltzer re: estimated cost re: potential sale notices
  8/1/2023 Meltzer, Evelyn J              0.10      $100.00 B130    Email to M. Kauffman re budget for IP and leases sales
  8/1/2023 Meltzer, Evelyn J              0.10      $100.00 B130    Email to M. Salkovitz re lease sales
  8/1/2023 Meltzer, Evelyn J              0.10      $100.00 B130    Email to KCC re cost to serve sale notice on creditor's matrix
  8/1/2023 Meltzer, Evelyn J              0.30      $300.00 B130    Call with M. Smith re IP and lease sales
  8/1/2023 Meltzer, Evelyn J              0.20      $200.00 B130    Speaking with T. Kohl re IP and lease sales
  8/2/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B130    Telephone call with E. Meltzer re: potential IP/lease sales update
  8/2/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B130    Emails with S. Fox and E. Meltzer re: potential IP/lease sales
  8/2/2023 Meltzer, Evelyn J              0.30      $300.00 B130    Email to S Fox re: go forward budget
  8/2/2023 Meltzer, Evelyn J              0.20      $200.00 B130    Speaking to M Smith re: go forward budget
  8/3/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B130    Emails with S. Fox and E. Meltzer re: potential IP/lease sales
  8/3/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B130    Emails with MK team and E. Meltzer re: potential lease sales
  8/3/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B130    Emails with M. Kaufman and E. Meltzer re: budget for potential IP/lease sale
  8/3/2023 Meltzer, Evelyn J              0.10      $100.00 B130    Email to M Kauffman re: go forward budget
  8/3/2023 Meltzer, Evelyn J              0.20      $200.00 B130    Speaking to T Kohl re: IP sale
  8/3/2023 Meltzer, Evelyn J              0.30      $300.00 B130    Speaking to A&G re: lease sales
  8/8/2023 Meltzer, Evelyn J              0.20      $200.00 B130    Speaking with M. Powers re sale of leases
 8/10/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B130    Review M. Desgrosseilliers email re: cash procedures at closing store locations
 8/10/2023 Meltzer, Evelyn J              0.10      $100.00 B130    Speaking with potential buyer re IP
 8/11/2023 Meltzer, Evelyn J              0.10      $100.00 B130    Speak with M. Powers re sale of lease
 8/11/2023 Meltzer, Evelyn J              0.10      $100.00 B130    Email to M. Power re amounts owed under lease
 8/14/2023 Meltzer, Evelyn J              0.10      $100.00 B130    Email to M. Kauffman re go forward funds
                                          3.90    $3,676.00 B130    Asset Disposition




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                                                         Troutman Pepper Hamilton Sanders LLP Time Entry Detail by Task Code for Period: 8/1/23 to 8/16/23



   Date             TKPR Name          Bs Hrs    Tobill Amt  Task                                                                     Narrative
                                                             Code
  8/1/2023 Molitor, Monica A.             0.10       $39.00 B140 Obtain, review agreed order re Soundwater lift stay motion
  8/2/2023 McLaughlin Smith, Marcy J      0.30      $252.00 B140 Review Bank of America stay relief motion
  8/2/2023 McLaughlin Smith, Marcy J      0.20      $168.00 B140 Email M. Kaufman and E. Meltzer re: BoA stay relief motion
  8/7/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B140 Emails with M. Kaufman and E. Meltzer re: BoA stay relief motion
  8/7/2023 Meltzer, Evelyn J              0.10      $100.00 B140 Email to M Kauffman re: BoA Stay Relief Motion
  8/8/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B140 Telephone call with E. Meltzer re: BoA stay relief motion
  8/8/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B140 Review E. Meltzer email to UCC counsel re: BoA stay relief motion
  8/8/2023 Meltzer, Evelyn J              0.10      $100.00 B140 Speaking with M. Smith re BoA stay relief motion
  8/8/2023 Meltzer, Evelyn J              0.20      $200.00 B140 Email to Committee re stay relief motion
  8/9/2023 Meltzer, Evelyn J              0.10      $100.00 B140 Email to Committee re Bank of America stay relief motion
  8/9/2023 Molitor, Monica A.             0.10       $39.00 B140 Email exchanges with E. Meltzer, M. McLaughlin Smith re Bank of America lift stay motion re 8.16 hearing agenda
 8/11/2023 Meltzer, Evelyn J              0.10      $100.00 B140 Email to G. Grivner re Bank of America stay relief motion
 8/11/2023 Molitor, Monica A.             0.20       $78.00 B140 Email exchanges with E. Meltzer, G. Grivener re CNO re Bank of America lift stay motion
 8/11/2023 Molitor, Monica A.             0.10       $39.00 B140 Email from J. Lemkin re revised order, accounting re Levin Properties lift stay motion
 8/14/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B140 Emails with E. Meltzer and J. Lemkin re: Levin Properties stay relief motion and revised proposed order
 8/14/2023 Molitor, Monica A.             0.20       $78.00 B140 Emails from J. Lemkin, E. Meltzer re revised order to submit under COC re Levin Properties lift stay motion scheduled for 8.16 hearing

 8/15/2023 Molitor, Monica A.             0.10       $39.00 B140    Obtain, review order granting Levin Properties, L.P re motion for lift stay, admin claim
 8/15/2023 Molitor, Monica A.             0.10       $39.00 B140    Obtain, review COC filed by Levin Properties, L.P re motion for lift stay, admin claim
                                          2.40    $1,707.00 B140    Relief from Stay-Adequate Protection Proceedings

  8/9/2023 Meltzer, Evelyn J              0.20      $200.00 B150    Speaking with M. Molitor re 8/16/23 hearing agenda
 8/14/2023 Meltzer, Evelyn J              0.10      $100.00 B150    Reviewing amended agenda
 8/14/2023 Meltzer, Evelyn J              0.10      $100.00 B150    Email to Court re final fee hearing
                                          0.40      $400.00 B150    Meetings of and Communications with Creditors

  8/2/2023 Molitor, Monica A.             0.20       $78.00 B155    Prepare special service list re 9.14 hearing
  8/2/2023 Molitor, Monica A.             0.60      $234.00 B155    Prepare 9.14 hearing agenda
  8/2/2023 Molitor, Monica A.             0.10       $39.00 B155    Email to A. Smith re Reliable invoice re hearing binder preparation, delivery to Court
  8/3/2023 Molitor, Monica A.             0.10       $39.00 B155    Update 8.16 hearing agenda
  8/4/2023 Molitor, Monica A.             0.40      $156.00 B155    Update 9.14 hearing agenda
  8/7/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B155    Emails with chambers, E. Meltzer and M. Molitor re: 8/31 hearing date and COC re: same
  8/7/2023 Meltzer, Evelyn J              0.10      $100.00 B155    Email to M Patterson re: Committee standing motion.
  8/7/2023 Meltzer, Evelyn J              0.10      $100.00 B155    Email to Court re: August 31st hearing
  8/7/2023 Meltzer, Evelyn J              0.10      $100.00 B155    Reviewing COC re: omnibus hearing
  8/7/2023 Molitor, Monica A.             0.10       $39.00 B155    Finalize COC, order setting 8.31 omnibus date for efiling
  8/7/2023 Molitor, Monica A.             0.20       $78.00 B155    Prepare COC, order settting 8.31 omnibus hearing date
  8/7/2023 Molitor, Monica A.             0.30      $117.00 B155    Email exchanges with E. Meltzer, M. McLaughlin Smith, A. Hrycak re 8.31 omnibus hearing date, courtroom number for same, COC and order
                                                                    re same
  8/7/2023 Molitor, Monica A.             0.10       $39.00 B155    Efile COC, order re 8.31 omnibus hearing
  8/7/2023 Molitor, Monica A.             0.10       $39.00 B155    Obtain as-filed COC re 8.31 omnibus hearing
  8/7/2023 Molitor, Monica A.             0.10       $39.00 B155    Upload order setting 8.31 omnibus hearing date
  8/7/2023 Molitor, Monica A.             0.10       $39.00 B155    Obtain order entered by Court setting 8.31 hearing
  8/7/2023 Molitor, Monica A.             0.10       $39.00 B155    Email exchange with noticing agent re service of COC, order setting 8.31 omnibus hearing date
  8/8/2023 Molitor, Monica A.             0.10       $39.00 B155    Confer with E. Meltzer re status of matters scheduled for 8.16 hearing
  8/9/2023 Molitor, Monica A.             0.10       $39.00 B155    Email from D. Gadson re Zoom registration link re 8.31 hearing
  8/9/2023 Molitor, Monica A.             0.30      $117.00 B155    Prepare 8.31 hearing agenda
  8/9/2023 Molitor, Monica A.             0.30      $117.00 B155    Update 8.16 hearing agenda



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                                                         Troutman Pepper Hamilton Sanders LLP Time Entry Detail by Task Code for Period: 8/1/23 to 8/16/23



   Date            TKPR Name           Bs Hrs    Tobill Amt  Task                                                                    Narrative
                                                             Code
 8/10/2023 Molitor, Monica A.             0.10       $39.00 B155 Prepare hearing binder cover re 8.16 hearing binder for chambers
 8/11/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B155 Review M. Molitor email re: 8/16 hearing agenda question
 8/11/2023 Molitor, Monica A.             0.10       $39.00 B155 Confer with E. Meltzer re 8.16 hearing agenda, matters going forward
 8/11/2023 Molitor, Monica A.             0.30      $117.00 B155 Obtain, review certifications of counsel, orders filed by movants re matters scheduled for 8.16 hearing
 8/11/2023 Molitor, Monica A.             0.10       $39.00 B155 Confer with E. Meltzer re 8.16 hearing, matters going forward re same
 8/11/2023 Molitor, Monica A.             0.10       $39.00 B155 Email to E. Meltzer, M. McLaughlin Smith re 8.16 hearing agenda
 8/11/2023 Molitor, Monica A.             0.60      $234.00 B155 Update 8.16 hearing agenda
 8/11/2023 Molitor, Monica A.             0.10       $39.00 B155 Email to E. Meltzer, M. McLaughlin Smith re 8.16 hearing agenda, status of matters
 8/11/2023 Molitor, Monica A.             0.10       $39.00 B155 Email to E. Meltzer, M. McLaughlin Smith re 8.16 hearing agenda
 8/14/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B155 Emails with E. Meltzer and M. Molitor re: 8/16 hearing agenda
 8/14/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B155 Review and respond to L. Muchnik email re: Zoom link re: 8/16 hearing agenda
 8/14/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B155 Emails with E. Meltzer and M. Molitor re: amended 8/16 hearing agenda
 8/14/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B155 Telephone call with M. Molitor re: amended 8/16 hearing agenda
 8/14/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B155 Review amended 8/16 hearing agenda
 8/14/2023 Meltzer, Evelyn J              0.20      $200.00 B155 Preparing 8/16/2023 hearing agenda
 8/14/2023 Meltzer, Evelyn J              0.10      $100.00 B155 Email to M. Molitor re 8/16/2023 hearing agenda
 8/14/2023 Meltzer, Evelyn J              0.10      $100.00 B155 Email to H. Murphy re 8/16/23 hearing
 8/14/2023 Meltzer, Evelyn J              0.10      $100.00 B155 Email to M. Molitor re amended agenda
 8/14/2023 Molitor, Monica A.             0.70      $273.00 B155 Email exchanges with E. Meltzer, M. McLaughlin Smith re 8.16 hearing agenda, amended agenda with updated Zoom registration link

 8/14/2023 Molitor, Monica A.             0.20       $78.00 B155   Email exchanges with noticing agent re service of 8.16 hearing agenda, special service parties re same, service of amended agenda re same

 8/14/2023 Molitor, Monica A.             0.20       $78.00 B155   Email exchanges with T. Kohl, N. Manzoor re Zoom registration link re 8.16 hearing
 8/14/2023 Molitor, Monica A.             0.20       $78.00 B155   Emails to clients, debtors' professionals re 8.16 hearing agenda, amended agenda with updated Zoom registration link
 8/14/2023 Molitor, Monica A.             0.40      $156.00 B155   Email exchanges with B. Campbell re 8.16 hearing agenda, pleadings for binder preparation, delivery to Judge Horan's chambers
 8/14/2023 Molitor, Monica A.             0.30      $117.00 B155   Prepare amended agenda re 8.16 hearing
 8/14/2023 Molitor, Monica A.             0.10       $39.00 B155   Email to chambers re as-filed amended agenda re 8.16 hearing
 8/14/2023 Molitor, Monica A.             0.10       $39.00 B155   Email to chambers re as-filed 8.16 hearing agenda
 8/14/2023 Molitor, Monica A.             0.20       $78.00 B155   Finalize, efile amended agenda re 8.16 hearing
 8/14/2023 Molitor, Monica A.             0.20       $78.00 B155   Finalize, efile 8.16 hearing agenda
 8/14/2023 Molitor, Monica A.             0.20       $78.00 B155   Email exchanges with D. Gadson re updated Zoom link re 8.16 hearing
 8/15/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B155   Emails with chambers and E. Meltzer re: final fee hearing
 8/15/2023 Meltzer, Evelyn J              0.20      $200.00 B155   Preparing second amended agenda
 8/15/2023 Molitor, Monica A.             0.10       $39.00 B155   Confer with E. Meltzer re WARN counsel comments to conversion motion, reflection of same on amended agenda re 8.16 hearing
 8/15/2023 Molitor, Monica A.             0.20       $78.00 B155   Email exchanges with noticing agent re service of notice of revised conversion order, 2nd amended agenda re 8.16 hearing, service of
                                                                   pleadings for 8.15
 8/15/2023 Molitor, Monica A.             0.30      $117.00 B155   Update 2nd amended 8.16 hearing agenda
 8/15/2023 Molitor, Monica A.             0.40      $156.00 B155   Prepare 2nd amended notice of agenda re 8.16 hearing
 8/15/2023 Molitor, Monica A.             0.10       $39.00 B155   Efile 2nd amended agenda re 8.16 hearing
 8/15/2023 Molitor, Monica A.             0.10       $39.00 B155   Obtain as-filed 2nd amended agenda re 8.16 hearing
 8/15/2023 Molitor, Monica A.             0.10       $39.00 B155   Email to chambers re as-filed 2nd amended agenda re 8.16 hearing, notice of revised conversion motion, WARN Act plaintiff limited objection
                                                                   to conversion motion
 8/15/2023 Molitor, Monica A.             0.10       $39.00 B155   Email to E. Meltzer, M. McLaughlin Smith re email submission of 2nd amended agenda to chambers with additional pleadings, confirmation
                                                                   that binder supplements to be delivered to chambers early 8.16
 8/15/2023 Molitor, Monica A.             0.30      $117.00 B155   Email exchanges with E. Meltzer, M. McLaughlin Smith re 2nd amended agenda, updates to same
 8/15/2023 Molitor, Monica A.             0.30      $117.00 B155   Prepare hearing binders supplement package for delivery to Judge Horan's chambers
 8/15/2023 Molitor, Monica A.             0.20       $78.00 B155   Email exchanges with B. Campbell re delivery of hearing binder supplement package to Judge Horan's chambers @ 8 am, 8.16
 8/16/2023 McLaughlin Smith, Marcy J      0.30      $252.00 B155   Telephone call with E. Meltzer re: conversion hearing debrief



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                                                         Troutman Pepper Hamilton Sanders LLP Time Entry Detail by Task Code for Period: 8/1/23 to 8/16/23



   Date            TKPR Name           Bs Hrs    Tobill Amt  Task                                                                  Narrative
                                                             Code
 8/16/2023 McLaughlin Smith, Marcy J      2.00    $1,680.00 B155 Attend adjourned conversion hearing (1.0), including conference with H. Murphy and C. Condon re: hearing debrief and revisions to
                                                                  conversion order (1.0)
 8/16/2023 Meltzer, Evelyn J              3.00    $3,000.00 B155 Attending conversion hearing
 8/16/2023 Molitor, Monica A.             0.20       $78.00 B155 Email exchanges with E. Meltzer, M. McLaughlin Smith, G. Matthews re no order for 8.16 hearing transcript
 8/16/2023 Molitor, Monica A.             0.10       $39.00 B155 Email exchanges with B. Campbell re confirmation of delivery of 2nd amended agenda, hearing binder supplements to Judge Horan's
                                                                  chambers
                                         17.20   $10,543.00 B155 Court Hearings

  8/1/2023 Meltzer, Evelyn J              0.10      $100.00 B160   Email to S. Henry re TP July fee application
  8/2/2023 Henry, Susan M                 0.10       $39.00 B160   Prepare e-mail to E. Meltzer re second monthly fee application
  8/2/2023 Henry, Susan M                 0.20       $78.00 B160   Prepare Troutman second monthly fee application
  8/3/2023 Henry, Susan M                 0.10       $39.00 B160   Prepare e-mail to Accounting re information for Troutman second fee application
  8/3/2023 Meltzer, Evelyn J              0.50      $500.00 B160   Preparing TP July fee application
  8/4/2023 Henry, Susan M                 0.10       $39.00 B160   Prepare e-mail to E. Meltzer re Troutman second monthly fee application
  8/4/2023 Henry, Susan M                 0.20       $78.00 B160   Prepare notice of Troutman second monthly fee application
  8/4/2023 Henry, Susan M                 1.10      $429.00 B160   Prepare Troutman second monthly fee application and exhibits for same
  8/4/2023 Molitor, Monica A.             0.10       $39.00 B160   Email from S. Henry re TPHS July fee application, notice, exhibits
  8/4/2023 Molitor, Monica A.             0.10       $39.00 B160   Review TPHS July fee application re fee, expense data
  8/7/2023 Henry, Susan M                 0.20       $78.00 B160   Revise second monthly fee application and exhibit for same
  8/7/2023 Henry, Susan M                 0.10       $39.00 B160   Prepare e-mails to Accounting re information for second monthly fee application
  8/7/2023 Henry, Susan M                 0.10       $39.00 B160   Prepare e-mail to E. Meltzer re second monthly fee application
  8/7/2023 Henry, Susan M                 0.10       $39.00 B160   Prepare e-mail to KCC re service of second monthly fee application
  8/7/2023 Henry, Susan M                 0.20       $78.00 B160   File second monthly fee application
  8/7/2023 Henry, Susan M                 0.10       $39.00 B160   Prepare e-mail to Accounting re LEDES file for second monthly fee application
  8/7/2023 Meltzer, Evelyn J              0.30      $300.00 B160   Preparing Troutman Pepper's July monthly fee application
  8/8/2023 Henry, Susan M                 0.10       $39.00 B160   Prepare e-mail to US Trustee re LEDES file for Troutman second monthly fee application
  8/8/2023 Molitor, Monica A.             0.20       $78.00 B160   Prepare CNO re TPHS 1st monthly fee application
  8/9/2023 Henry, Susan M                 0.10       $39.00 B160   Prepare e-mail to K. McIlvaine re exhibit to Troutman second monthly fee application
 8/11/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B160   Review E. Meltzer email re: invoice re: TPHS first monthly fee app
 8/11/2023 Meltzer, Evelyn J              0.10      $100.00 B160   Email to D. Willauer re invoice for TPHS first fee application
 8/11/2023 Molitor, Monica A.             0.10       $39.00 B160   Email, Outlook invite from E. Meltzer re CNO re TPHS 1st monthly fee application
 8/15/2023 Meltzer, Evelyn J              0.10      $100.00 B160   Email to D. Willauer re TPHS final fee application
 8/15/2023 Molitor, Monica A.             0.10       $39.00 B160   Email to E. Meltzer, M. McLaughlin Smith, S. Henry re TPHS1st fee application CNO
 8/16/2023 Molitor, Monica A.             0.10       $39.00 B160   Email to E. Meltzer, M. McLaughlin Smith re CNO, underlying application re Troutman Pepper 1st fee application
                                          4.70    $2,549.00 B160   Fee Applications

  8/1/2023 Molitor, Monica A.             0.20       $78.00 B165   Prepare notice re M&K 2nd monthly fee application
  8/1/2023 Molitor, Monica A.             0.20       $78.00 B165   Prepare notice re FAAN advisors 2nd monthly fee application
  8/3/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B165   Emails with L. Scott and E. Meltzer re: KCC first monthly fee app
  8/3/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B165   Email MK and FAAN teams re: July fee apps
  8/3/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B165   Emails with M. Molitor re: KCC first monthly fee app and notice re: same
  8/3/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B165   Review notice re: KCC first monthly fee app
  8/3/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B165   Telephone call with M. Molitor re: KCC first monthly fee app
  8/3/2023 Meltzer, Evelyn J              0.10      $100.00 B165   Reviewing KCC's first fee application
  8/3/2023 Meltzer, Evelyn J              0.10      $100.00 B165   Email to same re: reviewing KCC's first fee application
  8/3/2023 Molitor, Monica A.             0.10       $39.00 B165   Efile KCC 1st fee application
  8/3/2023 Molitor, Monica A.             0.10       $39.00 B165   Obtain as-filed KCC 1st fee application
  8/3/2023 Molitor, Monica A.             0.20       $78.00 B165   Email exchange with noticing agent, co-counsel, E. Meltzer, M. McLaughlin Smith re service of KCC 1st fee application



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                                                             Code
  8/3/2023 Molitor, Monica A.             0.30      $117.00 B165 Finalize KCC 1st fee application, notice, Ex. A for efiling
  8/3/2023 Molitor, Monica A.             0.10       $39.00 B165 Confer with M. McLaughlin Smith re Ex. A to KCC 1st fee application, redaction to same
  8/3/2023 Molitor, Monica A.             0.20       $78.00 B165 Email exchanges with M. McLaughlin Smith, E. Meltzer re notice of KCC 1st fee application
  8/3/2023 Molitor, Monica A.             0.20       $78.00 B165 Prepare notice of KCC 1st fee application
  8/3/2023 Molitor, Monica A.             0.30      $117.00 B165 Email exchanges with E. Meltzer, L. Scott, M. McLaughlin Smith re KCC 1st fee application
  8/3/2023 Molitor, Monica A.             0.30      $117.00 B165 Update fee application/CNO index
  8/3/2023 Molitor, Monica A.             0.20       $78.00 B165 Obtain, review respective CNOs re Porzio, Bromberg & Newman 1st and 2nd monthly fee applications
  8/3/2023 Molitor, Monica A.             0.20       $78.00 B165 Update fee application, CNO status chart
  8/4/2023 Molitor, Monica A.             0.20       $78.00 B165 Update fee application, CNO status chart
  8/4/2023 Molitor, Monica A.             0.20       $78.00 B165 Prepare notice re SSG Advisors 1st fee application
  8/7/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B165 Review M. Molitor and KCC emails re: service of COC and omnibus hearing order and MK, FAAN and TPHS July fee apps
  8/7/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B165 Telephone call with E. Meltzer re: SSG fee app
  8/7/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B165 Emails with T. Kohl, S. Victor and E. Meltzer re: SSG fee app
  8/7/2023 Meltzer, Evelyn J              0.20      $200.00 B165 Speaking to T Kohl re: SSG fee application
  8/7/2023 Meltzer, Evelyn J              0.10      $100.00 B165 Reviewing SSG fee application
  8/7/2023 Meltzer, Evelyn J              0.10      $100.00 B165 Reviewing M&K July fee application
  8/7/2023 Meltzer, Evelyn J              0.10      $100.00 B165 Email to M Molitor re M&K July fee application
  8/7/2023 Meltzer, Evelyn J              0.20      $200.00 B165 Reviewing FAAN July fee application
  8/7/2023 Meltzer, Evelyn J              0.10      $100.00 B165 Email to M Molitor re: FAAN July fee application
  8/7/2023 Molitor, Monica A.             0.10       $39.00 B165 Email to B. Hackman re as-filed M&K 2nd fee application, LEDES data re same
  8/7/2023 Molitor, Monica A.             0.10       $39.00 B165 Email exchange with noticing agent re service of FAAN Advisors 2nd fee application
  8/7/2023 Molitor, Monica A.             0.10       $39.00 B165 Confer with E. Meltzer re SSG Advisors first and final fee application, notice, required scheduling for hearing re same
  8/7/2023 Molitor, Monica A.             0.30      $117.00 B165 Emails from T. Kohl, J. Victor, E. Meltzer re SSG Advisors first and final fee application
  8/7/2023 Molitor, Monica A.             0.10       $39.00 B165 Obtain as-filed FAAN Advisors 2nd fee application
  8/7/2023 Molitor, Monica A.             0.10       $39.00 B165 Email to N. Manzoor, L. Bezner re as-filed FAAN Advisors 2nd fee application
  8/7/2023 Molitor, Monica A.             0.10       $39.00 B165 Email exchanges with E. Meltzer re FAAN Advisors 2nd fee application, as finalized for efiling
  8/7/2023 Molitor, Monica A.             0.10       $39.00 B165 Efile FAAN Advisors 2nd fee application, notice, Ex. A
  8/7/2023 Molitor, Monica A.             0.10       $39.00 B165 Update notice re FAAN Advisors 2nd fee application
  8/7/2023 Molitor, Monica A.             0.40      $156.00 B165 Update, finalize FAAN Advisors 2nd monthly fee application, notice, Ex. A for efiling
  8/7/2023 Molitor, Monica A.             0.30      $117.00 B165 Email exchanges with L. Bezner, E. Meltzer, M. McLaughlin Smith, D. Willauer re FAAN Advisors 2nd fee application, updates to same

  8/7/2023 Molitor, Monica A.             0.40      $156.00 B165   Update fee application/CNO status chart, and index
  8/7/2023 Molitor, Monica A.             0.10       $39.00 B165   Obtain as-filed M&K 2nd fee application
  8/7/2023 Molitor, Monica A.             0.10       $39.00 B165   Email exchange with noticing agent re service of M&K 2nd fee application
  8/7/2023 Molitor, Monica A.             0.10       $39.00 B165   Efile M&K 2nd monthly fee application, notice, exhibits A, B
  8/7/2023 Molitor, Monica A.             0.20       $78.00 B165   Email exchanges with E. Meltzer, M. McLaughlin Smith re collated M&K 2nd fee application, notice finalized for efiling
  8/7/2023 Molitor, Monica A.             0.10       $39.00 B165   Update notice re M&K 2nd fee application
  8/7/2023 Molitor, Monica A.             0.30      $117.00 B165   Finalize M&K 2nd fee application, notice, exhibits for efiling
  8/7/2023 Molitor, Monica A.             0.40      $156.00 B165   Email exchanges with C. Condon, E. Meltzer, M. McLaughlin Smith re M&K July fee application, exhibits and LEDES data re same
  8/7/2023 Molitor, Monica A.             0.10       $39.00 B165   Email exchange with E. Meltzer re SSG Advisors first fee application
  8/8/2023 Molitor, Monica A.             0.20       $78.00 B165   Update respective CNOs re M&K, FAAN Advisors 1st fee applications
  8/9/2023 Molitor, Monica A.             0.20       $78.00 B165   Update fee application status chart, related index
  8/9/2023 Molitor, Monica A.             0.10       $39.00 B165   Obtain, review Rock Creek Advisors 1st fee application
 8/11/2023 Meltzer, Evelyn J              0.10      $100.00 B165   Email to W. Martin re invoice for payments of oustanding fees
 8/14/2023 Meltzer, Evelyn J              0.20      $200.00 B165   Speaking with M. Kauffman re professional fees
 8/14/2023 Meltzer, Evelyn J              0.10      $100.00 B165   Email to Committee re professional fees
 8/14/2023 Molitor, Monica A.             0.10       $39.00 B165   Emails from E. Meltzer, D. Gadson re final fee application hearing to reflect on conversion order
 8/15/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B165   Review M. Molitor email re: CNOs re TPHS, M&K, FAAN 1st monthly fee apps



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 8/15/2023 Molitor, Monica A.             0.10       $39.00 B165 Email to E. Meltzer, M. McLaughlin Smith, S. Henry re respective CNOs re M&K and FAAN 1st fee applications
 8/16/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B165 Review and respond to N. Manzoor email re: FAAN first monthly fee application status
 8/16/2023 McLaughlin Smith, Marcy J      0.20      $168.00 B165 Review CNOs re: MK, FAAN and TPHS first monthly fee apps
 8/16/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B165 Emails with E. Meltzer and M. Molitor re: CNOs re: MK, FAAN and TPHS first monthly fee apps
 8/16/2023 Molitor, Monica A.             0.10       $39.00 B165 Email to E. Meltzer, M. McLaughlin Smith re terms of conversion order re fee applications
 8/16/2023 Molitor, Monica A.             0.20       $78.00 B165 Emails from M. McLaughlin Smith, E. Meltzer re filing and service of monthly fee application CNOs for 8.18
 8/16/2023 Molitor, Monica A.             0.10       $39.00 B165 Email to E. Meltzer, M. McLaughlin Smith re CNO, underlying application re Murphy & King 1st fee application
 8/16/2023 Molitor, Monica A.             0.10       $39.00 B165 Email to E. Meltzer, M. McLaughlin Smith re CNO, underlying application re FAAN Advisors 1st fee application
                                         10.50    $5,534.00 B165 Fee Applications - Other

  8/3/2023 Molitor, Monica A.             0.10       $39.00 B175   Email exchange with E. Meltzer, M. McLaughlin Smith re extended target date to file Jackson Lewis OCP declaration
                                          0.10       $39.00 B175   Retention Applications - Others

  8/1/2023 Meltzer, Evelyn J              0.10      $100.00 B185   Email to A. Mattera re distribution center
  8/7/2023 Meltzer, Evelyn J              0.10      $100.00 B185   Email to M Kauffman re: distribution center
  8/8/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B185   Emails with D. Graubard, BBBy counsel and C. Condon re: West Falls Plaza rent
  8/8/2023 Meltzer, Evelyn J              0.10      $100.00 B185   Email to M. Kauffman re distribution center
  8/8/2023 Meltzer, Evelyn J              0.10      $100.00 B185   Speaking with C. Condon re rent owed to landlord
  8/8/2023 Meltzer, Evelyn J              0.10      $100.00 B185   Email to B. Roy re surrender of keys for lease
  8/8/2023 Molitor, Monica A.             0.20       $78.00 B185   Email exchanges with E. Meltzer, M. McLaughlin re notice re 3rd omnibus rejection motion
  8/8/2023 Molitor, Monica A.             0.20       $78.00 B185   Prepare notice re 3rd omnibus rejection motion
  8/9/2023 Meltzer, Evelyn J              0.10      $100.00 B185   Email to A. Mattera re distribution center
  8/9/2023 Meltzer, Evelyn J              0.10      $100.00 B185   Email to M. Kauffman re stub rent
  8/9/2023 Meltzer, Evelyn J              0.10      $100.00 B185   Speaking with M. Kauffman re stub rent
  8/9/2023 Meltzer, Evelyn J              0.10      $100.00 B185   Reviewing CNO re 2nd omnibus rejection motion
  8/9/2023 Molitor, Monica A.             0.10       $39.00 B185   Finalize order re 2nd lease rejection motion, scan schedule 1 for order upload
  8/9/2023 Molitor, Monica A.             0.10       $39.00 B185   Finalize CNO for efiling re 2nd omnibus lease rejection
  8/9/2023 Molitor, Monica A.             0.20       $78.00 B185   Email exchanges with E. Meltzer, M. McLaughlin Smith re CNO re 2nd omnibus lease rejection
  8/9/2023 Molitor, Monica A.             0.20       $78.00 B185   Prepare CNO re 2nd omnibus lease rejection
 8/10/2023 Meltzer, Evelyn J              0.10      $100.00 B185   Speaking with M. Molitor re 3rd rejection motion
 8/10/2023 Meltzer, Evelyn J              0.10      $100.00 B185   Reviewing 3rd rejection motion
 8/10/2023 Meltzer, Evelyn J              0.10      $100.00 B185   Reviewing 3rd rejection motion
 8/10/2023 Meltzer, Evelyn J              0.10      $100.00 B185   Email to M. Kauffman re 3rd rejection motion
 8/10/2023 Meltzer, Evelyn J              0.10      $100.00 B185   Email to M. Kauffman re stub rent
 8/10/2023 Molitor, Monica A.             0.10       $39.00 B185   Upload order granting 2nd omnibus lease rejection
 8/10/2023 Molitor, Monica A.             0.10       $39.00 B185   Efile CNO re 2nd lease rejection motion
 8/10/2023 Molitor, Monica A.             0.20       $78.00 B185   Email exchanges with E. Meltzer, M. McLaughlin Smith re 3rd omnibus rejection of leases, status of filing same
 8/11/2023 Meltzer, Evelyn J              0.10      $100.00 B185   Email to landlord counsel re rejection of leases
 8/11/2023 Molitor, Monica A.             0.10       $39.00 B185   Email to noticing agent re service of CNO, order granting 2nd omnibus rejection motion
 8/11/2023 Molitor, Monica A.             0.10       $39.00 B185   Obtain, review order granting 2nd omnibus rejection motion
 8/15/2023 Meltzer, Evelyn J              0.10      $100.00 B185   Email to L. Rogel re leases
 8/15/2023 Molitor, Monica A.             0.10       $39.00 B185   Emails from counsel for Brookfield Properties Retail, Inc., E. Meltzer re status of rejection of lease, to be handled by chapter 7 trustee

 8/16/2023 Molitor, Monica A.             0.20       $78.00 B185   Email exchanges with E. Meltzer, M. McLaughlin Smith re motion to reject distribution center lease, objection filed to same
                                          3.60    $2,425.00 B185   Assumption/Rejection of Leases and Contracts

  8/1/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B188   Emails with DC landlord counsel, M. Desgrosseilliers and E. Meltzer re: DC lease rejection/premises surrender
  8/4/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B188   Emails with M. Kaufman and E. Meltzer re: DC landlord follow-up



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  8/4/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B188 Emails with B. Roy and E. Meltzer re: future lease rejection motion
  8/4/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B188 Review and respond to E. Meltzer and J. Price emails re: Lynnfield August rent and stub rent
  8/8/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B188 Emails with M. Kaufman and E. Meltzer re: distribution center issues
  8/9/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B188 Email M. Desgrosseilliers and J. Webb re: store list re: third omnibus rejection motion
 8/10/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B188 Emails with E. Meltzer and M. Molitor re: third omnibus rejection motion
 8/10/2023 McLaughlin Smith, Marcy J      0.20      $168.00 B188 Telephone call with E. Meltzer re: third omnibus rejection motion
 8/10/2023 McLaughlin Smith, Marcy J      0.40      $336.00 B188 Draft third omnibus rejection motion
 8/11/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B188 Review M. Molitor and KCC team emails re: service of order granting second omnibus rejection motion and CNO re: same
 8/16/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B188 Review and respond to W. Holtmeier email re: status of Harrisburg store lease
                                          1.50    $1,260.00 B188 Assumption/Rejection of Non-Residential Real Estate Leases

  8/2/2023 Molitor, Monica A.             0.10       $39.00 B190   Email to M. McLaughlin Smith re Debtor responses to creditor motions scheduled for 8.16 hearing
  8/2/2023 Molitor, Monica A.             0.10       $39.00 B190   Email from M. McLaughlin Smith re status of Debtor responses to creditor motions scheduled for 8.16 hearing
  8/3/2023 McLaughlin Smith, Marcy J      0.40     $336.00 B190    Telephone call with E. Meltzer re: next steps in case
  8/3/2023 Meltzer, Evelyn J              0.20     $200.00 B190    Speaking to M Smith re: conversion motion
  8/4/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B190   Emails with M. Kaufman, C. Condon and E. Meltzer re: post-GOB next steps
  8/4/2023 Meltzer, Evelyn J              0.40     $400.00 B190    Call with CTS and M&K re conversion of case
  8/7/2023 McLaughlin Smith, Marcy J      0.20     $168.00 B190    Telephone call with E. Meltzer re: pending motions and next steps re: conversion and rejection motions
  8/7/2023 McLaughlin Smith, Marcy J      1.30    $1,092.00 B190   Draft conversion motion
  8/7/2023 Meltzer, Evelyn J              0.10     $100.00 B190    Follow up call with M Kauffman re: preserving IP for trustee
  8/7/2023 Meltzer, Evelyn J              0.10     $100.00 B190    Call with M Smith re: motion to convert
  8/7/2023 Meltzer, Evelyn J              0.10     $100.00 B190    Email to T Kohl re: re: motion to convert
  8/7/2023 Meltzer, Evelyn J              0.10     $100.00 B190    Speaking to T Kohl re motion to convert
  8/7/2023 Meltzer, Evelyn J              0.40     $400.00 B190    Call with Pathlight re: preserving IP for trustee
  8/8/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B190   Review E. Meltzer email re: summary of next steps re: transition to chapter 7 trustee
  8/8/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B190   Email E. Meltzer re: draft conversion motion
  8/8/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B190   Email M. Molitor re: notices re: conversion motion and third omnibus rejection motion
  8/8/2023 McLaughlin Smith, Marcy J      1.40    $1,176.00 B190   Draft conversion motion
  8/8/2023 Molitor, Monica A.             0.20       $78.00 B190   Review motion, prepare notice re motion to dismiss
  8/8/2023 Molitor, Monica A.             0.10       $39.00 B190   Update notice re motion to convert
  8/8/2023 Molitor, Monica A.             0.20       $78.00 B190   Email exchanges with E. Meltzer re updated motion to convert, updated notice re same
  8/8/2023 Molitor, Monica A.             0.20       $78.00 B190   Email exchanges with W. Meltzer, M. McLaughlin Smith re motion to dismiss, notice for same
  8/9/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B190   Telephone call with E. Meltzer re: conversion motion
  8/9/2023 Meltzer, Evelyn J              0.10     $100.00 B190    Reviewing notice re conversion motion
  8/9/2023 Meltzer, Evelyn J              0.10     $100.00 B190    Reviewing notice re conversion motion
  8/9/2023 Meltzer, Evelyn J              0.10     $100.00 B190    Reviewing notice re 3rd lease rejection motion
  8/9/2023 Meltzer, Evelyn J              1.00    $1,000.00 B190   Preparing motion to convert
  8/9/2023 Meltzer, Evelyn J              0.10     $100.00 B190    Email to CTS re motion to convert
  8/9/2023 Meltzer, Evelyn J              0.10     $100.00 B190    Email to Committee re motion to convert
  8/9/2023 Meltzer, Evelyn J              0.30     $300.00 B190    Speaking with H. Murphy re motion to convert
  8/9/2023 Meltzer, Evelyn J              0.20     $200.00 B190    Research re final reports
  8/9/2023 Meltzer, Evelyn J              0.10     $100.00 B190    Email to H. Murphy re final reports
  8/9/2023 Meltzer, Evelyn J              0.10     $100.00 B190    Email to M. Kauffman re IP and website
  8/9/2023 Molitor, Monica A.             0.10       $39.00 B190   Email to E. Meltzer, M. McLaughlin Smith re providing Court with unredacted matrix post conversion
 8/10/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B190   Telephone call with E. Meltzer re: conversion motion and motion to shorten re: same
 8/10/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B190   Email E. Meltzer re: sample motion to shorten re: conversion motion
 8/10/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B190   Further telephone call with E. Meltzer re: conversion motion and motion to shorten re: same
 8/10/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B190   Email B. Hackman and Committee counsel re: positions re: shortened notice request re: conversion motion



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 8/10/2023 McLaughlin Smith, Marcy J      0.20     $168.00 B190 Telephone call with E. Meltzer re: Company transition issues
 8/10/2023 McLaughlin Smith, Marcy J      0.60     $504.00 B190 Draft motion to shorten re: conversion motion
 8/10/2023 Meltzer, Evelyn J              2.00    $2,000.00 B190 Preparing motion to convert
 8/10/2023 Meltzer, Evelyn J              0.50     $500.00 B190 Preparing motion to shorten re motion to convert
 8/10/2023 Meltzer, Evelyn J              0.20     $200.00 B190 Call with CTS and M&K re motion to convert
 8/10/2023 Meltzer, Evelyn J              0.30     $300.00 B190 Emails to CTS and M&K re motion to shorten re motion to convert
 8/10/2023 Meltzer, Evelyn J              0.10     $100.00 B190 Email to B .Hackman re motion to convert
 8/10/2023 Meltzer, Evelyn J              0.10     $100.00 B190 Email to M. Kauffman re IP
 8/10/2023 Meltzer, Evelyn J              0.10     $100.00 B190 Email to Court re motion to shorten
 8/10/2023 Meltzer, Evelyn J              0.10     $100.00 B190 Email to CTS re IT at distribution center
 8/10/2023 Meltzer, Evelyn J              0.10     $100.00 B190 Email to A. Mattera re IT at distribution center
 8/10/2023 Meltzer, Evelyn J              0.10     $100.00 B190 Reviewing notice re order shortening notice on motion to convert
 8/10/2023 Meltzer, Evelyn J              0.10     $100.00 B190 Email to M. Kauffman re conversion list
 8/10/2023 Molitor, Monica A.             0.10       $39.00 B190 Upload order shortening notice re conversion motion via ECF
 8/10/2023 Molitor, Monica A.             0.10       $39.00 B190 Obtain as-filed motion to convert, motion to shorten notice re same
 8/10/2023 Molitor, Monica A.             0.10       $39.00 B190 Email to chambers re as-filed motion to convert, motion to shorten notice re same
 8/10/2023 Molitor, Monica A.             0.10       $39.00 B190 Finalize order shortening notice for ECF upload
 8/10/2023 Molitor, Monica A.             0.10       $39.00 B190 Efile motion to convert, Ex. A to same
 8/10/2023 Molitor, Monica A.             0.20       $78.00 B190 Update motion to shorten, Ex. A to same for efiling
 8/10/2023 Molitor, Monica A.             0.10       $39.00 B190 Complete payment of motion to convert USBC filing fee
 8/10/2023 Molitor, Monica A.             0.10       $39.00 B190 Email to USBC intake re payment of respective USBC filing fees re conversion of affiliate debtor cases
 8/10/2023 Molitor, Monica A.             0.10       $39.00 B190 Efile motion to shorten notice re motion to convert, Ex. A to same
 8/10/2023 Molitor, Monica A.             0.20       $78.00 B190 Email exchanges with E. Meltzer, M. McLaughlin Smith re updated notice re motion to convert
 8/10/2023 Molitor, Monica A.             0.20       $78.00 B190 Finalize motion to convert, Ex. A to same for efiling
 8/10/2023 Molitor, Monica A.             0.10       $39.00 B190 Call with E. Meltzer re re motion to convert, motion to shorten notice re same
 8/10/2023 Molitor, Monica A.             0.20       $78.00 B190 Update notice re motion to convert, pursuant to entry of order shortening notice
 8/10/2023 Molitor, Monica A.             0.10       $39.00 B190 Obtain order shortening notice re conversion motion
 8/10/2023 Molitor, Monica A.             0.10       $39.00 B190 Update notice of motion re conversion
 8/10/2023 Molitor, Monica A.             0.10       $39.00 B190 Finalize notice of conversion motion for efiling
 8/10/2023 Molitor, Monica A.             0.10       $39.00 B190 Efile notice of motion to convert case
 8/10/2023 Molitor, Monica A.             0.10       $39.00 B190 Obtain as-filed notice of conversion motion
 8/10/2023 Molitor, Monica A.             0.10       $39.00 B190 Email exchanges with noticing agent re service of notice, conversion motion, motion and order shortening notice
 8/11/2023 Meltzer, Evelyn J              0.10     $100.00 B190 Preparing agenda for conversion prep call
 8/11/2023 Meltzer, Evelyn J              0.30     $300.00 B190 Emails to M. Salkovitz re preserving IP in connection with wind down
 8/11/2023 Meltzer, Evelyn J              0.50     $500.00 B190 Call with M. Kauffman re conversion
 8/11/2023 Meltzer, Evelyn J              0.20     $200.00 B190 Email to M. Kauffman re winddown payroll
 8/11/2023 Meltzer, Evelyn J              0.10     $100.00 B190 Email to S. Fox re preserving IP in connection with wind down
 8/14/2023 McLaughlin Smith, Marcy J      0.20     $168.00 B190 Telephone call with E. Meltzer re: case, conversion and 8/16 hearing updates
 8/14/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B190 Review B. Hackman and E. Meltzer emails re: comments to proposed conversion order
 8/14/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B190 Review M. Conlan email re: WARN Act plaintiff's limited response to conversion motion
 8/14/2023 Meltzer, Evelyn J              0.20     $200.00 B190 Speaking with M. Kauffman re conversion documents
 8/14/2023 Meltzer, Evelyn J              0.20     $200.00 B190 Speaking with M. Smith re conversion documents
 8/14/2023 Meltzer, Evelyn J              0.50     $500.00 B190 Call with H. Murphy, C. Condon, et al. re conversion hearing
 8/15/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B190 Emails with B. Hackman, UCC counsel and E. Meltzer re: comments to proposed conversion order
 8/15/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B190 Telephone call with E. Meltzer re: conversion hearing matters
 8/15/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B190 Email E. Meltzer re: landlord contact information
 8/15/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B190 Emails with M. Salkovitz and E. Meltzer re: final report
 8/15/2023 Meltzer, Evelyn J              0.10     $100.00 B190 Speaking with M. Molitor re notice of revised conversion order



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 8/15/2023 Meltzer, Evelyn J              0.10      $100.00 B190 Email to D. Willauer re final report
 8/15/2023 Meltzer, Evelyn J              0.80      $800.00 B190 Preparing final accounting
 8/15/2023 Meltzer, Evelyn J              0.10      $100.00 B190 Email to S. Fox re revised conversion order
 8/15/2023 Meltzer, Evelyn J              0.10      $100.00 B190 Email to B. Hackman re revised conversion order
 8/15/2023 Meltzer, Evelyn J              0.10      $100.00 B190 Preparing notice of revised conversion order
 8/15/2023 Molitor, Monica A.             0.10       $39.00 B190 Confer with E. Meltzer re notice of revised order re motion to convert
 8/15/2023 Molitor, Monica A.             0.30      $117.00 B190 Prepare notice of revised conversion order, blackline
 8/15/2023 Molitor, Monica A.             0.10       $39.00 B190 Email to E. Meltzer, M. McLaughlin Smith re notice of revised conversion order, blackline comparison
 8/15/2023 Molitor, Monica A.             0.20       $78.00 B190 Conferences with E. Melzer re notice of revised conversion order, blackline, comments on same from certain parties
 8/15/2023 Molitor, Monica A.             0.30      $117.00 B190 Emails from E. Meltzer, UST, counsel for committee, counsel for WARN Act plaintiff, Pathlight re comments to revised conversion order

 8/15/2023 Molitor, Monica A.             0.30      $117.00 B190   Email exchanges with E. Melzer, M. McLaughlin Smith re notice of revised conversion order, blackline, comments from certain parties re
                                                                   revised order
 8/15/2023 Molitor, Monica A.             0.20       $78.00 B190   Email exchanges with E. Meltzer re notice of revised conversion order, blackline
 8/15/2023 Molitor, Monica A.             0.20       $78.00 B190   Finalize notice of revised conversion order, exhibits for efiling
 8/15/2023 Molitor, Monica A.             0.10       $39.00 B190   Obtain WARN Act plaintiff limited objection to conversion motion
 8/15/2023 Molitor, Monica A.             0.10       $39.00 B190   Obtain as-filed notice of revised conversion order, exhibits
 8/15/2023 Molitor, Monica A.             0.10       $39.00 B190   Efile notice of revised conversion order, exhibits to same
 8/16/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B190   Telephone call with B. Hackman re: conversion hearing
 8/16/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B190   Email H. Murphy and C. Condon re: telephone call with B. Hackman re: conversion hearing
 8/16/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B190   Conference call with B. Hackman, H. Murphy and C. Condon re: conversion hearing
 8/16/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B190   Email M. Conlon re: revised conversion order
 8/16/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B190   Emails with parties in interest re: post-hearing revisions to conversion order
 8/16/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B190   Telephone call with C. Condon re: further post-hearing revisions to conversion order
 8/16/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B190   Emails with D. Gadson re: final fee hearing date and COC/revised conversion order
 8/16/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B190   Emails with M. Molitor COC re: revised conversion order
 8/16/2023 McLaughlin Smith, Marcy J      0.20      $168.00 B190   Review and revise COC re: revised conversion order
 8/16/2023 McLaughlin Smith, Marcy J      0.20      $168.00 B190   Revise conversion order
 8/16/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B190   Emails with KCC team and M. Molitor re: service of conversion order and COC re: same
 8/16/2023 Molitor, Monica A.             0.10       $39.00 B190   Email exchanges with A. Smith, M. McLaughlin Smith, D. Willauer, M. Willey re USBC fee receipt re motion to convert from chapter 11 to 7

 8/16/2023 Molitor, Monica A.             0.30      $117.00 B190   Finalize COC, exhibits A, B re revised conversion order for efiling
 8/16/2023 Molitor, Monica A.             0.10       $39.00 B190   Efile COC, exhibits re revised conversion order
 8/16/2023 Molitor, Monica A.             0.10       $39.00 B190   Update, finalize revised conversion order for ECF upload
 8/16/2023 Molitor, Monica A.             0.10       $39.00 B190   Upload revised conversion order
 8/16/2023 Molitor, Monica A.             0.10       $39.00 B190   Email exchanges with chambers re as-filed COC, ECF confirmation of revised order upload re conversion
 8/16/2023 Molitor, Monica A.             0.10       $39.00 B190   Obtain as-filed COC re conversion order
 8/16/2023 Molitor, Monica A.             0.20       $78.00 B190   Email exchanges with M. McLaughlin Smith, noticing agent re service of COC, conversion order
 8/16/2023 Molitor, Monica A.             0.10       $39.00 B190   Obtain, review conversion order
 8/16/2023 Molitor, Monica A.             0.60      $234.00 B190   Review pleadings and prepare COC re revised conversion order, blackline
 8/16/2023 Molitor, Monica A.             0.20       $78.00 B190   Email exchanges with M. McLaughlin Smith re revised conversion order filed 8.15, filing of COC for Court to enter order
 8/16/2023 Molitor, Monica A.             0.10       $39.00 B190   Email from E. Meltzer re terms of conversion order
                                         25.20   $19,550.00 B190   Other Contested Matters

  8/2/2023 Molitor, Monica A.             0.40      $156.00 B191   Review Del. Bankr. L.R. 7016, 7026 re pretrial conference, meet and confer requirements, submission of proposed scheduling order prior to
                                                                   hearing
  8/4/2023 Molitor, Monica A.             0.10       $39.00 B191   Review DI 490 docket text re sealed Committee motion for standing scheduled for 9.14 hearing
  8/7/2023 Meltzer, Evelyn J              0.10      $100.00 B191   Reviewing stipulation extending answer deadline re: WARN Act Complaint



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  8/7/2023 Molitor, Monica A.             0.10       $39.00 B191 Obtain, review stipulation extending answer deadline re Vorel v. CTS adv. proc.
 8/10/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B191 Review M. Shah email re: PI suit/service list and email E. Meltzer re: same
 8/11/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B191 Review E. Meltzer email re: M. Shah email re: PI suit/service list
 8/15/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B191 Respond to M. Shah email re: PI suit/service list
                                          1.00      $586.00 B191 General Litigation

  8/7/2023 Meltzer, Evelyn J              0.10      $100.00 B210   Email to C Condon re: gift cards
                                          0.10      $100.00 B210   Business Operations

  8/1/2023 Molitor, Monica A.             0.10       $39.00 B230   Obtain, review order approving 3rd stipulation extending challenge deadline
 8/10/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B230   Emails with Company and MK teams and E. Meltzer re: notice of default
                                          0.20      $123.00 B230   Financing / Cash Collateral

  8/2/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B310   Emails with M. Kaufman, D. Difigueiredo and E. Meltzer re: Achim and Conopco asserted admin expense claims
  8/2/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B310   Email E. Meltzer re: Achim and Conopco admin expense requests
  8/2/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B310   Emails with A. Brown re: Huntington admin expense/stay relief motion
  8/2/2023 Meltzer, Evelyn J              0.10      $100.00 B310   Email to M Kauffman re: pending admin claims
  8/3/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B310   Email to and from M. Molitor re: adjourned objection deadline re: Huntington admin expense/stay relief motion
  8/3/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B310   Emails with E. Meltzer re: Achim and Conopco admin expense requests
  8/3/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B310   Emails with A. Brown re: Huntington admin expense/stay relief motion
  8/3/2023 McLaughlin Smith, Marcy J      0.20      $168.00 B310   Email J. Lemkin and J. Weaver re: Achim and Conopco admin expense requests
  8/3/2023 Molitor, Monica A.             0.10       $39.00 B310   Email and Outlook event change from M. McLaughlin Smith re further extended response deadline re Huntington National Bank Admin
                                                                   Expense Claim Motion
  8/4/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B310   Review and respond to L. O'Farrell email re: status of Huntington admin expense/stay relief motion
  8/7/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B310   Email E. Meltzer re: revised proposed order re: Huntington admin expense/stay relief motion
  8/7/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B310   Email A. Brown re: revised proposed order re: Huntington admin expense/stay relief motion
  8/7/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B310   Review revised proposed order re: Huntington admin expense/stay relief motion
  8/7/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B310   Email S. Hoffmann re: status of Huntington admin expense/stay relief motion
  8/7/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B310   Email J. Lemkin and J. Weaver re: Achim and Conopco admin expense requests
  8/7/2023 Meltzer, Evelyn J              0.10      $100.00 B310   Email to counsel for Levin Properties re: admin motion
  8/7/2023 Molitor, Monica A.             0.10       $39.00 B310   Obtain, review order re Huntington National Bank administrative claim, resolving lift stay motion
  8/8/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B310   Telephone call with E. Meltzer re: Levin, Achim and Conopco pending admin claim requests
  8/8/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B310   Email E. Meltzer re: status of pending admin expense and stay relief motions
  8/8/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B310   Review S. Hoffman email re: status of pending admin expense and stay relief motions
  8/8/2023 Meltzer, Evelyn J              0.10      $100.00 B310   Leaving messages for counsel for Levin Properties re admin claim
  8/8/2023 Meltzer, Evelyn J              0.10      $100.00 B310   Email to counsel for Achim and Conopco re admin claims
  8/8/2023 Meltzer, Evelyn J              0.10      $100.00 B310   Email to S. Hoffman re pending admin motions
  8/8/2023 Meltzer, Evelyn J              0.20      $200.00 B310   Email to J. Lemkin re admin motions
  8/8/2023 Molitor, Monica A.             0.10       $39.00 B310   Email from E. Meltzer re resolution of Achim Importing Inc. and Conopco, Inc. d/b/a Unilever respective motions for administrative expense

  8/9/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B310   Emails with C. Condon and E. Meltzer re: status of Parampara admin expense motion
  8/9/2023 Meltzer, Evelyn J              0.10      $100.00 B310   Email to counsel for Levin Properties re admin claim
  8/9/2023 Meltzer, Evelyn J              0.10      $100.00 B310   Speaking with counsel for Levin Properties re admin claim
  8/9/2023 Meltzer, Evelyn J              0.10      $100.00 B310   Email to H. Murphy re Parampara admin claim
  8/9/2023 Molitor, Monica A.             0.20       $78.00 B310   Emails from E. Meltzer, counsel for Achim and Conopco re revised forms of order, filing of COCs re same
  8/9/2023 Molitor, Monica A.             0.20       $78.00 B310   Email exchanges with E. Meltzer, M. McLaughlin Smith, C. Condon re status of Paramara admin claim motion scheduled for 8.16 hearing

 8/10/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B310   Review and respond to E. Meltzer email w/ attachment re: proposed revised Achim and Conopco admin expense requests



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 8/10/2023 Meltzer, Evelyn J              0.10      $100.00 B310 Reviewing Achim and Conopco admin orders
 8/10/2023 Meltzer, Evelyn J              0.10      $100.00 B310 Email to M. Smith re Achim and Conopco admin orders
 8/10/2023 Molitor, Monica A.             0.30      $117.00 B310 Emails from J. Lemkin, E. Meltzer re revised orders to submit under COC re respective Achim and Conopco Admin Expense motions scheduled
                                                                  for 8.16 hearing, review proposed orders re same
 8/11/2023 McLaughlin Smith, Marcy J      0.10       $84.00 B310 Emails with L. O'Farrell and E. Meltzer re: revised Parampara admin expense order
 8/14/2023 Meltzer, Evelyn J              0.10      $100.00 B310 Email to M. Kauffman re Levin properties admin claim motion
 8/14/2023 Meltzer, Evelyn J              0.20      $200.00 B310 Emails to J. Lemkin re Levin properties admin claim motion
 8/14/2023 Meltzer, Evelyn J              0.10      $100.00 B310 Speaking to M. Kauffman re Levin properties admin claim motion
 8/14/2023 Meltzer, Evelyn J              0.10      $100.00 B310 Revising Levin admin order
                                          4.70    $3,770.00 B310 Claims Administration and Objections




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